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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  VS.                                              §    CASE NO. 1:07-CR-104
                                                   §
  DERLICK MCGRIFF                                  §

           FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the District Court, Eastern District

  of Texas, the District Court referred this matter for hearing and the submission of findings of fact

  and a report and recommendation pursuant to 18 U.S.C. §§ 3401(i) and 3583(e). The United States

  alleges that the defendant, Derlick McGriff, violated conditions of supervised release imposed by

  United States District Judge Marcia A. Crone. The United States Probation Office filed its Petition

  for Warrant or Summons for Offender Under Supervision (doc. #97) requesting the revocation of

  the defendant’s supervised release. The Court conducted a hearing on April 25, 2016, in accordance

  with Federal Rules of Criminal Procedure 11, 32 and 32.1. The defendant was present and

  represented by counsel at the hearing. Having heard the evidence, this court factually finds that the

  defendant has violated conditions of supervision and recommends that such violation warrants the

  revocation of his supervised release.


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          After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure11, the Court finds:

          a.      That the defendant, after consultation with counsel of record, has knowingly, freely

  and voluntarily consented to the administration of the plea of true in this cause by a United States

  Magistrate Judge subject to a final approval and imposition of sentence by the District Court.

          b.      That the defendant is fully competent and capable of entering an informed plea, that

  the defendant is aware of the nature of the charges and the consequences of the plea, that his plea

  of true is a knowing and voluntary plea, not the result of force or threats, and that the plea is

  supported by an independent evidentiary basis in fact establishing each of the essential elements of

  the conduct.

                                    STATEMENT OF REASONS

          A. Procedural History

          On January 31, 2008, The Honorable Marcia A. Crone, U.S. District Judge for the Eastern

  District of Texas, sentenced Mr. McGriff after he pled guilty to the offense of possession with intent

  to distribute 5 grams or more but less than 50 grams of cocaine base, a Class B felony. Judge Crone

  sentenced to the defendant to 100 months imprisonment followed by 5 years supervised release

  subject to the standard conditions of release, plus special conditions to include financial disclosure,

  drug aftercare, mental health aftercare, abstinence from intoxicants, and a $100 special assessment.

  On December 1, 2014, Mr. McGriff completed his period of imprisonment and began service of the

  supervision term. On March 15, 2016, the Court modified the defendant’s conditions to include180

  days placement in a Community Corrections Center. See Order (doc. #96).




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         B. Allegations in Petition

         The United States Probation Office alleges that the defendant violated the following special

  condition of release:

         The defendant shall refrain from the consumption of any intoxicant unless prescribed by a

  physician.

         Specifically, on April 8, 2016, Derlick McGriff admitted to using alcohol on or about April

  6, 2016.

          C. Evidence presented at Hearing:

         At the hearing, the Government proffered evidence in support of the allegation in the

  petition to revoke. Specifically, the Government would establish that as part of his supervision, Mr.

  McGriff was ordered to refrain from the consumption of intoxicants. The Government then

  submitted, in exhibit form, a copy of a signed document executed by Mr. McGriff on April 8, 2016,

  in the presence of his probation officer. That document shows that McGriff admitted to using

  alcohol on or about April 6, 2016.

         Defendant, Derlick McGriff, offered a plea of true to the allegations. Specifically, he agreed

  with the evidence summarized above and pled true to the allegation that he consumed alcohol in

  violation of his supervision conditions.

         D. Sentencing Guidelines; Findings and Recommended Disposition

         The allegations, supporting evidence and plea of true warrant revocation of supervised

  release. See 18 U.S.C. § 3583(e)(3). The Court factually finds by a preponderance of the evidence

  that the defendant violated a special condition of his supervised release by consuming alcohol. This

  conduct constitutes a Grade C violation under U.S.S.G. § 7B1.3(a)(1). Upon finding a Grade C


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  violation, the Court may revoke the defendant’s supervised release. See U.S.S.G. § 7B1.3(a)(2).

         Based upon the Defendant’s criminal history category of VI and the Grade C violation, the

  sentencing guidelines suggest a sentence of imprisonment for a period ranging from 8 to 14

  months. See U.S.S.G. § 7B1.4(a). Because the original offense of conviction was a Class B felony,

  the statutory maximum imprisonment term upon revocation is three (3) years. See 18 U.S.C.

  § 3583(e)(3).

         According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home

  detention, or intermittent confinement previously imposed in connection with a sentence for which

  revocation is ordered that remains unpaid or unserved at the time of revocation shall be ordered to

  be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4, and any such

  unserved period of community confinement, home detention, or intermittent confinement may be

  converted to an equivalent period of imprisonment. In this case, according to the records submitted

  by the Probation Office, Mr. McGriff failed to serve 180 days of court-ordered community

  confinement time.

         If the Court revokes a defendant’s term of supervision and orders the defendant to serve a

  term of imprisonment for that revocation, the Court may also require that the defendant be placed

  on a new term of supervised release. See 18 U.S.C. § 3583(h). The length of this term of

  supervised release shall not exceed the term of supervised release authorized by statute for the

  offense which resulted in the original term of supervised release, less any term of imprisonment that

  was imposed upon revocation of supervised release. Id.         In this case, the authorized term of

  supervised release by statute is not more than life. See 18 U.S.C. § 3583(b)(2)&(h).

         The Fifth Circuit states that Chapter 7 of the Sentencing Guidelines regarding the revocation


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  of supervised release is advisory only. See United States v. Cade, 279 F.3d 265, 271 n.2 (5th Cir.

  2002) (citing United States v. Montez, 952 F.2d 854, 859 (5th Cir. 1992); United States v. Headrick,

  963 F.2d 777, 782 (5th Cir. 1992)). Because Chapter 7 was promulgated as an advisory policy

  statement and there are no applicable guidelines for sentencing after revocation of supervised

  release1, the Court may impose a greater or lesser sentence upon revocation. United States v.

  Gonzalez, 250 F.3d 923, 925 (5th Cir. 2001). Further, a sentence imposed for revocation will be

  upheld unless it is in violation of the law or plainly unreasonable. Id. See also United States v.

  Pena, 125 F.3d 285, 288 (5th Cir. 1997) (citations omitted).

               Here, the evidence and the defendant’s own admission supports a finding that the defendant

  committed a Grade C violation of his supervision conditions. Defendant pled true, agreed with the

  Court’s recommended sentence for that violation, and waived his right to allocute before the District

  Court.

               Accordingly, based upon the defendant’s plea of true, the agreement of the parties, and the

  evidence presented in this case, it is the recommendation of the undersigned United States

  Magistrate Judge that the District Court accept the plea of true and revoke Defendant’s supervised

  release. The undersigned magistrate judge recommends that the District Court order Defendant to

  serve a term of ten (10) months imprisonment, which includes the 180 days of unserved

  community confinement time.

               The Court further recommends that, upon release from prison, the defendant serve a new

  term of supervised release of twelve (12) months. The new term of supervision should be subject



           1
          See U.S. Sentencing Guidelines Manual, Ch. 7, pt. A, cmt. 1 ("At this time, the Commission has chosen to
 promulgate policy statements only.")

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  to the same mandatory and standard conditions adopted by the Court and imposed in the original

  judgment of conviction. The Court further finds that the special conditions stated in the judgment

  originally imposed by the District Court are still relevant based on the record of the case and the

  evidence submitted by the Probation Office in conjunction with the petition to revoke.

                                           OBJECTIONS

         Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

  days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

  object bars that party from: (1) entitlement to de novo review by a district judge of proposed

  findings and recommendations, and (2) appellate review, except on grounds of plain error of

   .
  unobjected-to factual findings and legal conclusions accepted by the district court. See Douglass

  v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

  safeguards afforded by Congress and the courts require that, when a party takes advantage of his

  right to object to a magistrate’s findings or recommendation, a district judge must exercise its

  nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

  adopting the magistrate judge’s report and recommendation. See Hernandez v. Estelle, 711 F.2d

  619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                      SIGNED this the 27th day of April, 2016.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                          UNITED STATES MAGISTRATE JUDGE



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